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United States Bankruptcy Court

Eastern District of Virginia

Otis Perry, Jr.
Inte Candace C Murray-Perry Case No.  23-10735

Debtor(s) Chapter 13

AMENDMENT COVER SHEET

Amendment(s) to the following petition, list(s), schedule(s) or statement(s) are transmitted herewith:

SISSOSIUS

OOO)

Involuntary/Voluntary Petition [Specify reason for amendment: /

Check if applicable: [_] Soc. Sec. No. amended. [If applicable: An original, signed Official Form 121 was
mailed/hand-delivered to the Clerk's office on -*]

Summary of Your Assets and Liabilities (and Certain Statistical Information - Individuals Only)
Declaration (Individuals - Form 106Dec) (Non-Individuals - Form 202)

Schedule A/B — Property

Schedule C — The Property You Claim as Exempt

Schedule D — Creditors Who Hold Claims Secured by Property (See LBR 1009-1)

Schedule E/F — Creditors Who Have Unsecured Claims (See LBR 1009-1)

Schedule E/F Creditors Who Have Unsecured Claims (See LBR 1009-1)

($32.00 fee required if adding or deleting pre-petition creditors, changing amounts owed or classification of
debt.) Check applicable statement(s):

L] Creditor(s) added L] Creditor(s) deleted

l¥l Change in amounts owed or classification of debt

LJ No pre-petition creditors added/deleted, or amounts owed or classification of debt changed. [Docket:

Amended Schedule(s) and/or Statement(s), List(s)-NO FEE) ,

[]  Post-petition creditors added (Schedule of Unpaid Debts)
REMINDER: Conversion of Chapter 13 to Chapter 7 - only file Schedule of Unpaid Debts.

Schedule G — Executory Contracts and Unexpired Leases

Schedule H — Codebtors

Schedule I — Your Income

Schedule J — Your Expenses

[NOTE: The form “NOTICE TO CREDITOR(S) (RE AMENDMENT)” is still required when adding or deleting creditors.
*Amendment of debtor(s) Social Security Number requires that this cover sheet together with a completed Official Form 121—
Statement About Your Social Security Numbers be electronically filed or submitted to the Clerk’s Office for “restricted”
entry of the amended Social Security Number into the case record.]

OOOOOO

Statement of Financial Affairs

Statement of Intention for Individuals Filing Under Chapter 7

Chapter 11 List of Equity Security Holders

Chapter 11: The List of Creditors Who Have the 20 Largest Unsecured Claims Against You Who Are Not Insiders
Attorney’s Disclosure of Compensation

Other:

NOTICE OF AMENDMENT(S) TO AFFECTED PARTIES

Pursuant to Federal Rule of Bankruptcy Procedure 1009(a) and Local Rule 1009-1, I certify that notice of the filing of the
amendment(s) checked above has been given this date to the United States Trustee, the trustee in this case, and to any and all entities
affected by the amendment as follows: _.

Date: June 2, 2023

[amendes ver. 12/20]

!si Joseph M. Goldberg

Joseph M. Goldberg 20814

Attorney for Debtor(s) [or Pro Se Debtor(s)]
State Bar No.: 20814 VA

Mailing Address: Banks & Associates

3158 Golansky Boulevard, Suite 201
Woodbridge, VA 22192
Telephone No.: 703-577-0169

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ATES ake merece Coy aM eM Ce Tit aaNet] pret: ttc

Debtor 1 Otis Perry, Jr.

First Name Middle Name Last Name
Debtor 2 Candace C Murray-Perry
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court forthe: © EASTERN DISTRICT OF VIRGINIA

Case number 23.10735

(if known)

Check if this is an
amended filing

Official Form 106Sum .
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15 |

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

GSR Summarize Your Assets

Your assets
Value of what you own

1. Schedule A/B: Property (Official Form 106A/B)

1a. Copy line 55, Total real estate, from Schedule A/B......cccscccssssssssessssessessessvssesnssnssveseesesarsssarsersenssessessessenseseceveasees $ 1,100,000.00
1b. Copy line 62, Total personal property, from Schedule AVB......c.cccccccssssesssssessssstssssessesessesssesrsenseussessessnsanesesetssecee $ 260,123.30
1c. Copy line 63, Total of all property on Schedule A/B......cccccccccccssesssssesvsssssvessessesseusersanessserssnecacsueessausetsssessesecaeeresees $ 1,360,123.30

[2 Summarize Your Liabilities

Your liabilities
Amount you owe

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D... $ 1,224,047.72
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line Ge of Schedule E/F......csccccescscscesesessescees $ 41,806.00
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F i... ceccccceseeeeees $ 40,174.94
Your total liabilities | $ 1,306,028.66

cuigcee| SUMmarize Your Income and Expenses

4. Schedule !: Your Income (Official Form 106!)
Copy your combined monthly income from line 12 of Schedule |. $ 15,264.57

5. Schedule J: Your Expenses (Official Form 106J)

Copy your monthly expenses from line 22c of Schedule J. $ 12,534.00

Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
[] No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

HM Yes
7. What kind of debt do you have?

lM Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

1 Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

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Debtor1 Otis Perry, Jr.

Debtor2 Candace C Murray-Perry
the court with your other schedules.

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form

Case number (if known) 23-10735

122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. 21,028.11
9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:
Total claim

‘From Part 4 on Schedule E/F, copy the following:

9a. Domestic support obligations (Copy line 6a.) $ 0.00

9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 41,806.00

9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0.00

9d. Student loans. (Copy line 6f.) $ 0.00

9e. Obligations arising out of a separation agreement or divorce that you did not report as 0.00

priority claims. (Copy line 6g.) :
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ 0.00
9g. Total. Add lines 9a through Sf. $ 41,806.00
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

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Debtor 1 Otis Perry, Jr.

First Name Middle Name Last Name
Debtor 2 Candace C Murray-Perry
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court forthe: EASTERN DISTRICT OF VIRGINIA

Case number 23-40735 Hl Check if this is an
amended filing

Official Form 106A/B
Schedule A/B: Property 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

[EEXRAY Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

C1 No. Go to Part 2.
a Yes. Where is the property?

14 What is the property? Check all that apply
5123 Cannon Bluff Dr IM Single-family home

Street address, if available, or other description

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:

fy Pumisxior mutton bulleig Creditors Who Have Claims Secured by Property.
oO Condominium or cooperative :
(1 Manufactured or mobile home
. Current value of the Current value of the

Woodbridge VA 22192-0000 (Land entire property? portion you own?

City State ZIP Code (1 Investment property $1,100,000.00 $1,100,000.00
U1 Timeshare Describe the nature of your ownership interest
C1 other (such as fee simple, tenancy by the entireties, or

Who has an interest in the property? Check one a life estate), if known.

C1 bebtor 1 only tenancy by the entireties

Prince William C1 Debtor 2 only

County
Mi bebtor 1 py Check if this is community property
CO At least one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

home requries substantial maintenance and repairs

2. Add the doilar value of the portion you own for all of your entries from Part 1, including any entries for
pages you have attached for Part 1. Write that nUMmber here.......cccsssssscsscesssecesesssssrscacscscerecscsvsvseetsvauesevenscecenes => $1,100,000.00

Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

Official Form 106A/B Schedule A/B: Property page 1
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Debtor1 Otis Perry, Jr.
Debtor2 CandacecC Murray-Perry Case number (ifknown) 23-10735

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

ONo
Bi Yes
‘ ‘ Honda i ; 2 Do not deduct secured claims or exemptions. Put
3.1. Make: n Who has an interest in the property? Check Be the amount of any secured claims on Schedule D:
Model: CRV 1 Debtor 4 only Creditors Who Have Claims Secured by Property.
Year:
2020 O Debtor 2 only Current value of the Current value of the
Approximate mileage: 18,000 a Debtor 1 and Debtor 2 only entire property? portion you own?
Other information: [1 At least one of the debtors and another
OC] Check if this is community property $27,450.00 $27,450.00
(see instructions)
. . y Do not deduct secured claims or exemptions. Put
2
3.2 Make: Mercedes Who has an interest in the property? Check one the amount cf any secured claims on Schedule D:
Model: 450 OO Debtor 4 only Creditors Who Have Claims Secured by Property.
Year:
= 2008 C1 Debtor 2 only Current value of the Current value of the
Approximate mileage: 190,000 Wi bebtor 1 and Debtor 2 only entire property? portion you own?
Other information: 1 at least one of the debtors and another
1 Check if this is community property $1,635.00 $1,635.00
(see instructions)
. erced : ; 2 Do not deduct secured claims or exemptions. Put
3.3 Make: Mercedes Who has an interest in the property? Check one the amount of any secured claims on Schedule D:
Model: $550 O Debtor 4 only Creditors Who Have Claims Secured by Property.
Year:
eat Bong O Debtor 2 arily Current value of the Current value of the
Approximate mileage: mi Debtor 1 and Debtor 2 only entire property? portion you own?
Other information: [1 At least one of the debtors and another
C1 Check if this is community property $10,000.00 $10,000.00
(see instructions)

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

HNo
C1 Yes

5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
-Pages you have attached for Part 2. Write that MUMber Mer .eessesscsesssssssssssssssessssseessssessssssssssessestseseescceccssecsccoee => $39,085.00

aes Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following items? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

CI No
ll Yes. Describe.....

[bedroom set (500), livingroom set (2,000), silverware (500),
kitchenware (250) $3,250.00

Official Form 106A/B Schedule A/B: Property page 2
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Debtor1 Otis Perry, Jr.

Debtor2 Candace C Murray-Perry Case number (ifknown) 23-10735.

7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
including cell phones, cameras, media players, games
TC No

I Yes. Describe.....

| cell phones (200), computers (400), stereo (300), tvs (500) | $1,400.00

. Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
other collections, memorabilia, collectibles
ONo

I Yes. Describe...

| Artwork (1,500), Books (500) $2,000.00

. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
musical instruments
CONo

Wl Yes. Describe.....

| rifle (200), handgun (100) | $300.00

| Bikes | $300.00

10. Firearms

Examples: Pistols, rifles, shotguns, ammunition, and related equipment

HNo
CI Yes. Describe...

11. Clothes

Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

[C1 No
MM Yes. Describe...

| wearing apparel | $300.00
| wearign apparel | $1,000.00
| fur coats (inherited) | $1,500.00

12. Jewelry

Examples. Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

ONo
IM Yes. Describe...

| wedding band | $3,150.00
| wedding and engagement rings | $25,900.00
| inherited jewelry -non wedding and engagement rings | $40,500.00

Official Form 106A/B Schedule A/B: Property page 3
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Debtor1 Otis Perry, Jr.

Debtor 2 Candace C Murray-Perry Case number (ifknown) 23-10735

13. Non-farm animals
Examples: Dogs, cats, birds, horses

HI No
C1 Yes. Describe...

14. Any other personal and household items you did not already list, including any health aids you did not list
HNo

CO Yes. Give specific information...

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that mumber Here ......ssssssssssssesscessesessseeesesseeeserserecsecsessestssvseuscnenavasuans $79,600.00

TEEZH Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

TC No

Cash $20.00

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
institutions. If you have multiple accounts with the same institution, list each.
CO No

Byes Institution name:

USAA checking
17.1. and savings accts $5,000.00

Bank of America -
17.2. checking acct $20.00

checking and
17.3. savings accts Navy FCU $1,000.00

checking and

17.4. savings accts Apple FCU $1,600.00
17.5. checking acct Wells Fargo $1,400.00
17.6. Navy FCU - pledged acct $78,611.30

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

HM No

0 Yes Institution or issuer name:

Official Form 106A/B Schedule A/B: Property page 4
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Debtor1 Otis Perry, Jr.

Debtor 2 Candace C Murray-Perry Case number (if known) 23-10735

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture

No

C1 Yes. Give specific information about them.....cccscccee-.
Name of entity: % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

Hi No

TX Yes. Give specific information about them
Issuer name:

21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
TC No

@ Yes. List each account separately.

Type of account: Institution name:
CSRS Unknown
Roth - TSP $2,415.00
FERS $0.00
TSP $9,960.00
IRA $30,897.00
IRA -GMWB $9,865.00

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
HNo

CD YES. ooeceeeesceeeseeees Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
BNo

Ol yYes............. Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

BNo
Ol yYes............. Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit

Bi Nno

[] Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

MNo

C1 Yes. Give specific information about them...

Official Form 106A/B Schedule A/B: Property page 5
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Debtor 1 Otis Perry, Jr.
Debtor2 CandaceC Murray~Perry Case number (if known) 23-10735

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

Hi No
1 Yes. Give specific information about them...

Money or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you
No
LC] Yes. Give specific information about them, including whether you already filed the returns and the tax years.......

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

MNo

O Yes. Give specific information...

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
benefits; unpaid loans you made to someone else

CO No

i Yes. Give specific information..

| Accrued wages, one week, 25% $250.00

| Accrued wages, one week, 25% | $400.00

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

C1 No

@ Yes. Name the insurance company of each policy and list its value.
Company name: Beneficiary: Surrender or refund
value:

multiple term insurance policies
through employer and w Mutual of
Omaha Unknown

term insurance plans thourgh employer
and w_USAA and to cover mortgage Unknown

Whole Life policy with AIG (just
started, no present cash value) Unknown

Whole life policy w American Whole
Life, just started, no cash value Unknown

32. Any interest in property that is due you from someone who has died ;
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
someone has died.

EI No

Cl Yes. Give specific information...

Official Form 106A/B Schedule A/B: Property page 6
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Debtor? Otis Perry, Jr.

Debtor2 Candace C Murray-Perry Case number (ifknown) 23-10735

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

HNo
CO Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims

1 No
J Yes. Describe each claim.........
| Claim w VA to increase percentage of disablity | Unknown
35. Any financial assets you did not already list
HNo
C1 Yes. Give specific information..
36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached $141,438.30
for Part 4. Write that NUMbEr Hl. ciesssssscsecesenvseeesvaseansvasvuxscnseuisesniiisiaa sivaasececenectenensensneenesanennraneensoneuaneesaeveneneen , :
Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.
37. Do you own or have any legal or equitable interest in any business-related property?
IB No. Goto Part 6.
C1 Yes. Go to line 38.
Uctiaa Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.
46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
I No. Go to Part7.
C] Yes. Go to line 47.
EAR Describe All Property You Own or Have an Interest in That You Did Not List Above
53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership
HNo
C Yes. Give specific information.........
54. Add the dollar value of all of your entries from Part 7. Write that number here ..ccccccsscccssssssesesecsseseseres $0.00

ete List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ........ccssscsssssscsssseccssesecseesessessssseansessesvsusessceracersessssvavsssevauscgarscesesscanensevauseneenens

56. Part 2: Total vehicles, line 5 $39,085.00
57. Part 3: Total personal and household items, line 15 $79,600.00
58. Part 4: Total financial assets, line 36 $141,438.30
59. Part 5: Total business-related property, line 45 $0.00
60. Part 6: Total farm- and fishing-related property, line 52 $0.00
61. Part 7: Total other property not listed, line 54 + $0.00
62. Total personal property. Add lines 56 through 61... $260,123.30 Copy personal property total

$1,100,000.00

$260,123.30

63. Total of all property on Schedule A/B. Add line 55 + line 62

$1,360,123.30

Official Form 106A/B Schedule A/B: Property

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Debtor 1 Otis Perry, Jr.

First Name Middle Name Last Name
Debtor 2 Candace C Murray-Perry
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: © EASTERN DISTRICT OF VIRGINIA

Case number
(if known)

23-10735

Official Form 106D

Schedule D: Creditors Who Have Claims Secured by Property

WA Check if this is an
amended filing

12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case

number (if known).

1. Do any creditors have claims secured by your property?

C1 No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

Wi Yes. Fill in all of the information below.
List All Secured Claims

‘i j : . wo . A Column B Column C
2, List all secured claims. If a creditor has more than one secured claim, list the creditor separately Column A, vee “
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As Amount of claim Value of collateral Unsecured
much as possible, list the claims in alphabetical order according to the creditor’s name. Do not deduct the that supports this portion
value of collateral. claim If any
2.1 | Dover FCU Describe the property that secures the claim: $23,971.27 $27,450.00 $0.00

Creditor's Name

1075 Silver lake Blvd
Dover, DE 19904

Number, Street, City, State & Zip Code

Who owes the debt? Check one.

OO Debtor 4 only

CX Debtor 2 only

Hl Debtor 1 and Debtor 2 only

[1 At least one of the debtors and another

C Check if this claim relates to a
community debt

Date debt was incurred

2020 Honda CRV 18,000 miles

As of the date you file, the claim is: Check all that

apply.

O Contingent

C1 unliquidated

O Disputed

Nature of lien. Check all that apply.

Han agreement you made (such as mortgage or secured
car loan)

oO Statutory lien (such as tax lien, mechanic's lien)

O Judgment lien from a lawsuit
OO other (including a right to offset)

Last 4 digits of accountnumber 50419

Official Form 106D

Schedule D: Creditors Who Have Claims Secured by Property

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Debtor 1 Otis Perry, Jr. Case number (if known)
First Name Middle Name Last Name
Debtor 2 Candace C Murray-Perry
First Name Middle Name Last Name

2.2 | John and Linda Chandler

23-10735

Describe the property that secures the claim: $69,993.22 $1,100,000.00 $8,811.65
Creditor's Name 5123 Cannon Bluff Dr Woodbridge,
VA 22192 Prince William County
home requries substantial
maintenance and repairs
25277 Bunting Ct. the date you file, the claim is: Check all that
FL 34369 © OO contingent
Number, Street, City, State & Zip Code TC unliquidated
C1 Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
C1 Debtor 1 only Ban agreement you made (such as mortgage or secured
CO Debtor 2 only car loan)
I pebtor 4 and Debtor 2 only O Statutory lien (such as tax lien, mechanic's lien)
1 At least one of the debtors and another = Judgment lien from a lawsuit
C1 Check if this claim relates to a CO other (including a right to offset)
community debt
Date debt was incurred Last 4 digits of account number
2.3 | Navy Federal Describe the property that secures the claim: $77,564.80 $78,611.00 $0.00

Creditor's Name

P O Box 3500
Merrifield, VA 22119-3500

Number, Street, City, State & Zip Code

Who owes the debt? Check one.

1 Debtor 4 only

C1 Debtor 2 only

Wi bebtor 1 and Debtor 2 only

C At least one of the debtors and another

CI Check if this claim relates to a
community debt

Date debt was incurred 2022

loan - secured by pledge acct

As of the date you file, the claim is: Check all that
apply.

Oo Contingent

OO unliquidated

O Disputed

Nature of lien. Check all that apply.

Clan agreement you made (such as mortgage or secured
car loan)

O Statutory lien (such as tax lien, mechanic's lien)

O Judgment lien from a lawsuit
C] other (including a right to offset)

Last 4 digits of account number 8350

Official Form 106D

Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

page 2 of 3
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Debtor1 Otis Perry, Jr. a Case number (if known)
First Name Middle Name Last Name
Debtor2 Candace C Murray-Perry
First Name Middle Name Last Name

2A Wells Fargo Home

23-10735

Mortgage Describe the property that secures the claim: $1,038,818.43 $1,100,000.00 $0.00
Creditor's Name 5123 Cannon Bluff Dr Woodbridge,
VA 22192 Prince William County
P - $940,735.06
A - § 98,083.37
home requries substtnatila
maintenance and repairs
As of the d fil laim is:
P O Box 105647 al he date you file, the claim is: Check all that
Atlanta, GA 30348-5647 LJ contingent
Number, Street, City, State & Zip Code DO unliquidated
O Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
C1 Debtor 4 only BB an agreement you made (such as mortgage or secured
CX Debtor 2 only car loan)
WB pebior 4 and Debtor 2 only O Statutory lien (such as tax lien, mechanic's lien)
C1 At least one of the debtors and another [1] Judgment lien from a lawsuit
CO Check if this claim relates to a DO other (including a right to offset)
community debt
Date debt was incurred Last 4 digits of accountnumber 6048
25 Westlake Financial
~ | Services Describe the property that secures the claim: $13,700.00 $10,000.00 $3,700.00

Creditor's Name

Attn: Bankruptcy
P O Box 76809
Los Angeles, CA 90054

Number, Street, City, State & Zip Code

Who owes the debt? Check one.
O Debtor 4 only

O Debtor 2 only

a Debtor 1 and Debtor 2 only

C1 At least one of the debtors and another

OO Check if this claim relates to a
community debt

Date debt was incurred 2023

2009 Mercedes S550

As of the date you file, the claim is: Check all that
apply.

oO Contingent

CI unliquidated

CO Disputed

Nature of lien. Check all that apply.

Ban agreement you made (such as mortgage or secured
car loan)

O Statutory lien (such as tax lien, mechanic's lien)

O Judgment lien from a lawsuit

CJ other (including a right to offset)

Last 4 digits of accountnumber 5483

Add the dollar value of your entries in Column A on this page. Write that number here:
If this is the last page of your form, add the dollar value totals from all pages.

Write that number here:

$1,224,047.72

$1,224,047.72

List Others to Be Notified for a Debt That You Already Listed

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example,
trying to collect from you for a debt you owe to someone else,

than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be
debts in Part 1, do not fill out or submit this page.

[]

Name, Number, Street, City, State & Zip Code

On which line in Part 1 did you enter the creditor? 2.4

Law Office of Samuel White, PC
448 Viking Dr, Suite 350
Virginia Beach, VA 23452

Last 4 digits of account number __

if a collection agency is
list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
notified for any

Official Form 106D

Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

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Z|

CUM In corre coy rent telsn lina N ol acer: ice

Debtor 1 Otis Perry, Jr.

First Name Middle Name Last Name
Debtor 2 Candace C Murray-Perry
(Spouse if, filing) First Name Middie Name Last Name

United States Bankruptcy Court for the: | EASTERN DISTRICT OF VIRGINIA

Case number
(if known)

23-10735

Mi Check if this is an
amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).

(GEE List All of Your PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?

CI No. Go to Part 2.
a Yes.

2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much ‘as
possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill cut the Continuation Page of
Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

Total claim Priority Nonpriority
amount amount
24 Internal Revenue Service Last 4 digits of account number $32,457.00 $31,865.00 $592.00
Priority Creditor's Name
P O Box 7346 When was the debt incurred?
Philadelphia, PA 19101-7346
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. oO Contingent
L1 Debtor 1 only D1 unliquidated
CX Debior 2 only oO Disputed
H Debtor 1 and Debtor 2 only Type of PRIORITY unsecured claim:
C1 At least one of the debtors and another L] Domestic support obligations
O Check if this claim is fora community debt WS taxes and certain other debts you owe the government
Is the claim subject to offset? CO claims for death or personal injury while you were intoxicated
Hino 0 other. Specity
Oo Yes 2022 income taxes
Virginia Dept of Taxation Last 4 digits of account number $9,349.00 $9,349.00 $0.00
Priority Creditor's Name
P O Box 2369 When was the debt incurred?
Richmond, VA 23218-2369
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. oO Contingent
L Debtor 4 only C1 unliquidated
CO Debtor 2 only oO Disputed
IB Debtor 1 and Debtor 2 only Type of PRIORITY unsecured claim:
C1 At least one of the debtors and another C1 Domestic support obligations
(1 Check if this claim is for a community debt IB Taxes and certain other debts you owe the government
Is the claim subject to offset? CO Claims for death or personal injury while you were intoxicated
Hl No CI other. Specify
O Yes 2022 income tax
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 1 of 4

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Debtor1 Otis Perry, Jr.
Debtor 2 Candace C Murray-Perry

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Case number (if known) 23-10735

[GETGPAMB List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

D1 No. You have nothing to report in this part. Submit this form to the court with your other schedules.

a Yes.

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured claims fill out the Continuation Page of

Part 2.
Total claim

44 Cross River Bank Last 4 digits of account number $4,366.05
Nonpriority Creditor's Name
c/o Affirm Inc When was the debt incurred? 2022
30 Isabella St., Fl 4
Pittsburgh, PA 15212
Number Sireet City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
I bebtor 4 only O Contingent
TO Debtor 2 only C] Unliquidated
CO Debtor 1 and Debtor 2 only CO Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
CI Check if this claim is fora community C1 student loans
debt C1 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bno LO Debts to pension or profit-sharing plans, and other similar debts
C1 Yes i other. Specity loan

4.2 Dividend Finance, LLC Last 4 digits of account number $20,000.00

Nonpriority Creditor's Name

PO Box 847199

Suite D

Los Angeles, CA 90080-7199

Number Street City State Zip Code
Who incurred the debt? Check one.

CO Debtor 1 only

a Debtor 2 only

CJ Debtor 1 and Debtor 2 only

C1 At least one of the debtors and another

C1 Check if this claim is fora community
debt

Is the claim subject to offset?

a No
CO Yes

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

O Contingent
C1 unliquidated

Oo Disputed
Type of NONPRIORITY unsecured claim:

CX] student loans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

CO Debis to pension or profit-sharing plans, and other similar debts

@ other. Specify installment contract

Official Form 106 E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor 1 Otis Perry, Jr.
Debtor2 Candace C Murray-Perry

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Case number (if known)

Document
23-10735

4.3 Marriott Bonvoy

Last 4 digits of account number 5956 $4,732.34

Nonpriority Creditor's Name
Cardmember Service When was the debt incurred?
PO Box 1423
Columbia, SC 29201-1423
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
a Debtor 1 only O Contingent
C1 Debtor 2 only C1 unliquidated
[] Debtor 4 and Debtor 2 only [1 Disputed
(J At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C] Check if this claim is fora community C1 student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
no O Debts to pension or profit-sharing plans, and other similar debts
O Yes Wi other. Specify 9Consumer credit

44 Navy Federal Last 4 digits of accountnumber 1858 $6,846.67
Nonpriority Creditor's Name
P O Box 3500 When was the debt incurred?
Merrifield, VA 22119-3500
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
aq Debtor 1 only QO Contingent
CI Debtor 2 only O Unliquidated
D1 Debtor 1 and Debtor 2 only 0 Disputed
[1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is for a community C1 student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bi no OO Debts to pension or profit-sharing plans, and other similar debts
0 Yes IB other. Specify Consumer credit

USAA Last 4 digits of account number 4564 $1,022.43
Nonpriority Creditor's Name
10750 McDermott Fwy When was the debt incurred?
San Antonio, TX 78288-0570
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
BF bebtor 1 only O Contingent
CO Debtor 2 only C] Unliquidated
C] Debtor 4 and Debtor 2 only C Disputed
C1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is fora community C1 Student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
i No CO Debts to pension or profit-sharing plans, and other similar debts
D1 Yes other. Specify Consumer credit

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 3 of 4
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Debtor 1 Otis Perry, Jr.

Debtor 2 Candace C Murray-Perry Case number (if known) 23-10735
4.6 Wells Fargo Bank - Luna Last 4 digits of accountnumber 1294 $3,207.45

Nonpriority Creditor's Name

PO Box 71118 When was the debt incurred?

Charlotte, NC 28272-1118

Number Street City State Zip Code As of the date you file, the claim is: Check all that apply

Who incurred the debt? Check one.

BB bebtor 4 only O Contingent

C1 Debtor 2 only C1 unliquidated

OO] Debtor 1 and Debtor 2 only O Disputed

CO At least one of the debtors and another Type of NONPRIORITY unsecured claim:

D1 Check if this claim is fora community C1 student toans

debt Oo Obligations arising out of a separation agreement or divorce that you did not

Is the claim subject to offset? report as priority claims

Hi No C] Debts to pension or profit-sharing plans, and other similar debts

CO Yes i other. Specity Consumer credit

[EETEER List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?

Cross River Bank Line 4.11 of (Check one): C part 1: Creditors with Priority Unsecured Claims

885 Teaneck Rd ,
Teaneck, NJ 07666

part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
type of unsecured claim.

Total Claim
6a. Domestic support obligations 6a. $ 0.00
Total
claims
from Part 1 6b. Taxes and certain other debts you owe the government 6b. $ 41,806.00
6c. Claims for death or personal injury while you were intoxicated 6c. $ 0.00
6d. Other. Add all other priority unsecured claims. Write that amount here. 6d. $ 0.00
6e. Total Priority. Add lines 6a through 6d. 6e. $ 41,806.00
Total Claim
6f. Student loans 6f. $ 0.00
Total
claims
from Part 2 6g. Obligations arising out of a separation agreement or divorce that 0.00
you did not report as priority claims 6g. $ .
6h. Debts to pension or profit-sharing plans, and other similar debts 6h. $ 0.00
6i. Other. Add all other nonpriority unsecured claims. Write that amount 6i.
here. $ 40,174.94
6). Total Nonpriority. Add lines 6f through 6i. gj. $ 40,174.94

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 4 of 4
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STAM Cole elion Mote Ua ian ell ptr ket-p

Debtor 4 Otis Perry, Jr.

First Name Middle Name Last Name
Debtor 2 Candace C Murray-Perry
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court forthe: | EASTERN DISTRICT OF VIRGINIA

Case number 23-40735
(if known) [| Check if this is an
amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules 42/15

lf two married people are filing together, both are equally responsible for supplying correct information.
You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

[¥] No

LC] Yes. Name of person Attach Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119)

Under penalty of perjury, | declare that | have read the amended summary and schedules A,B,D,E, and F filed with this declaration and
that they are true and correct.

X Is/ Otis Perry, Jr. X /s/ Candace C Murray-Perry
Otis Perry, Jr. Candace C Murray-Perry
Signature of Debtor 1 Signature of Debtor 2
Date June 2, 2023 Date June 2, 2023

Official Form 106Dec Declaration About an Individual Debtor's Schedules
